Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 1 of 32 PageID #: 130




                2006 Steroids Report




                              Prepared by
                     the Steroids Working Group
                 United States Sentencing Commission



                                March 2006
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 2 of 32 PageID #: 131



                            REPORT OF THE STEROIDS POLICY TEAM


 I.          SUMMARY

        Congress passed the Anabolic Steroid Control Act of 2004 (the Act)1 to “address the
 abuse of steroids by athletes and, especially, by youngsters and teenagers.”2 The Act directed
 the United States Sentencing Commission (the “Commission” or “USSC”) to:

             (1)    review the federal sentencing guidelines with respect to anabolic steroids;

             (2)    consider amending the federal sentencing guidelines to provide for increased
                    penalties with respect to offenses involving anabolic steroids in a manner that
                    reflects the seriousness of such offenses and the need to deter anabolic steroid
                    trafficking and abuse; and

             (3)    take such other action that the Commission considers necessary to carry out this
                    section.3

        The Commission added consideration of steroids offenses to its list of priorities for its
 2004-2005 amendment cycle, in recognition of the serious concern over these offenses and the
 need to fulfill the congressional directive contained in the Act.

        This report sets forth legislative and guideline history pertaining to steroids offenses,
 discusses the Commission’s response to legislation, and updates the findings in the
 Commission’s 1990 Steroids Report.

 II.         BACKGROUND ON STEROIDS AND CURRENT PENALTY STRUCTURE

         Steroids is a broad term used to describe a variety of individual drugs that are delivered
 to end users primarily in two major forms: injectable liquid held in vials and pills.4 Steroids are
 typically used in various combinations with a user often combining four or five different types of




       1
           Anabolic Steroid Control Act of 2004, Pub. L. No. 108-358, 118 Stat. 1661 (2004).
       2
           150 Cong. Rec. S10608 (daily ed. Oct. 6, 2004) (statement of Sen. Joseph Biden).
       3
           Pub. L. No. 108-358 § 3 (2004).
       4
        USSC Drug Working Group (the Group), Proposed Amendment for Steroids, pg. 6 (the
       1990 Steroids Report) (Nov. 20, 1990) (On file with the USSC.)

                                                     1
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 3 of 32 PageID #: 132



 steroids.5 These drugs are not all equally potent.6 A user manipulates the overall potency of a
 combination of steroids to create a cycle.7 Typically, usage cycles are of six, eight, or twelve
 weeks’ duration and vacillate at least once between high and low doses.8

         The National Institute on Drug Abuse’s (NIDA) Research Report on Anabolic Steroid
 Abuse (April 2000)9 indicates that anabolic androgenic steroids (AAS) (referred to simply as
 anabolic steroids or steroids in this report) are synthetic forms of male sex hormones which
 exhibit effects on skeletal muscle growth (anabolic effects) and male sexual characteristics
 (androgenic effects). These steroids were developed in the 1930s and are used medically to treat
 delayed puberty, some forms of impotence, and wasting disorders like those associated with HIV
 infection and other diseases. Illicit users typically use 10 to 100 times the therapeutic dose
 levels, “stacking” multiple types of AAS in a “cycle” of 6 to 12 weeks, with dosage levels
 following a “pyramid” form.10

         Anabolic steroids are a Schedule III controlled substance under 21 U.S.C. § 812. Under
 21 U.S.C. § 841(b)(1)(D), any person who knowingly or intentionally trafficks in, or possesses
 with intent to traffick in, a Schedule III controlled substance shall be sentenced to a term of
 imprisonment of not more than 5 years’ imprisonment, or if the person committed the offense
 after a prior conviction for a felony drug offense has become final, not more than 10 years’
 imprisonment. The statutory maximum may double if the person distributes the drug to persons

    5
        Id.
    6
        Id.
    7
        Id.
    8
        Id.
    9
     The National Institute on Drug Abuse, NIH Pub. No. 00-3721, Anabolic Steroid Abuse
    (April 2000). For similar information, see Kirk J. Brower, Anabolic Steroid Abuse and
    Dependance, 4 Current Psychiatry Reports, 377-387 (2002); and H. G. Pope & D. L.
    Katz, Psychiatric Effects of Exogenous Anabolic-Androgenic Steroids in
    Psychoneuroendocrinology: the scientific basis of clinical practice (O. M. Wolkowitz &
    A. L. Rothschild, eds.) American Psychiatric Pub. (2003).
    10
      Multiple types of steroids are stacked to achieve 10 to 100 times the therapeutic dose.
    Stacking refers to the practice of taking two or more different steroids, often mixing oral
    and/or injectables, during a cycle. See NIDA, supra note 9. The resulting
    supraphysiologic dosage distinguishes this pattern of use from therapeutic usage. Users
    in a pyramid cycle will, typically, gradually increase then decrease their dosage during
    the duration of the cycle and then have a steroid free period. Tapering off the steroids is
    thought to reduce side effects and withdrawal symptoms. R. C. W. Hall & R. C. W. Hall,
    Abuse of Supraphysiologic Doses of Anabolic Steroids, 98 Southern Medical Assoc. 5
    (2005).

                                                 2
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 4 of 32 PageID #: 133



 under the age of 21, or distributes or manufactures the drug in or near schools and colleges.
 Schedule III offenses are sentenced under USSG §2D1.1 with base offense levels between level
 6 and level 20.

         While the severity of punishment for most drugs offenses sentenced under §2D1.1
 is determined primarily based upon the weight of the drugs involved in the offense, certain other
 substances, including those in Schedule III, are determined by the number of “units” involved in
 the offense.11 Generally, a "unit" is defined as one pill, capsule or tablet. If the substance
 (except gamma-hydroxybutyric acid, or GHB) is in liquid form, one "unit" means 0.5 ml. In
 cases involving anabolic steroids, however, a unit is defined to mean 50 tablets or, if in
 injectable form, a unit means 10 ml. As a result, more steroids are required to achieve sentences
 comparable to other Schedule III substances. That is, if in pill form, 50 times more steroid pills
 are needed to produce a penalty equal to other Schedule III pills and if in liquid form, 20 times
 the volume of liquid is required to produce the equivalent penalty of other Schedule III liquid
 substances.

 III.         LEGISLATIVE AND GUIDELINE HISTORY

         Steroid abuse has long been a focus of congressional interest, prompting legislative
 action and directives for Commission response, as detailed in this section. Congressional
 concern is not just about steroid misuse by major league sports professionals but also the trickle-
 down effects that such use has on amateur athletes, notably teenagers. Another congressional
 concern that has emerged recently is the availability of steroids (and other performance
 enhancing substances) for purchase over the Internet.

              A.     Steroid Legislation Before the 1990 Act

                     1.     Anti-Drug Abuse Act of 1988

          The first major steroid legislation, the Anti-Drug Abuse Act of 1988, changed the penalty
 for illegal distribution of steroids from a misdemeanor to a felony.12 Before the 1988 Act,
 federal law regulated steroids as prescriptive drugs under the Food, Drug, and Cosmetic Act,
 which proscribed the unauthorized selling of steroids as “misbranding,” a misdemeanor.13




        11
          In addition to Schedule III substances (with the exception of GHB, which has a
        separate marijuana equivalency), penalties for offenses involving Schedule I or II
        depressants, and Schedules IV and V substances, are also based upon the number of units
        involved in the offense.
        12
             Anti-Drug Abuse Act of 1988, Pub. L. No. 100-690, 102 Stat. 4181 (amended 1990).
        13
             21 U.S.C. § 333 (1994).

                                                    3
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 5 of 32 PageID #: 134



         On September 22, 1988, Representative William Hughes introduced an amendment to
 H.R. 5210, the Omnibus Drug Initiative Act of 1988.14 The amendment proposed making the
 distribution of steroids a felony punishable by up to three years of imprisonment.15 Introducing
 the amendment, Rep. Hughes described “disturbing” evidence of steroid use among high school
 students.16 Echoing Rep. Hughes’ concerns, Representatives Baker and Lungren denounced the
 use of steroids in high school and college athletics, and noted that the amendment signaled the
 beginning of greater congressional involvement in the regulation of steroids.17

         After the House passed the Drug Initiative Act, the full Senate considered the bill, and
 added numerous amendments. Senator Joseph Biden’s amendment proposed criminalizing the
 distribution of steroids, similar to Rep. Hughes amendment, but contained a provision that
 doubled the three year maximum if the offense involved a minor, and also called for a General
 Accounting Office study on the use of anabolic steroids.18 Discussing his bill, Sen. Biden
 expressed concerns about the use of steroids among young athletes, and stated that the
 amendment “was only a beginning in our efforts to control steroid abuse.”19

         Sen. Biden’s amendment passed the Senate, and the House adopted the Senate’s amended
 version on October 20, 1988. The Senate made further amendments, and the bill finally emerged
 from Congress under the title “The Anti-Drug Abuse Act of 1988,” which the President signed
 into law on November 18, 1988.20

         The Anti-Drug Abuse Act added a new subsection to the federal Food, Drug, and
 Cosmetic Act, 21 U.S.C. § 333(e). While the law did not criminalize merely possessing steroids,
 it did outlaw possession accompanied with intent to distribute. Subsection (e) allowed a
 sentence of up to three years for trafficking steroids, which doubled to six years if the offense
 involved a minor under the age of 18 years. 21 U.S.C. § 333(e) remained effective for two years
 before the Anabolic Steroid Control Act of 1990 modified the subsection in its entirety, as
 discussed more fully in Section B.21


    14
         The Omnibus Drug Initiative Act of 1988, H.R. 5210, 100th Cong. (1988).
    15
         134 Cong. Rec. H7906 (daily ed. Sept. 22, 1988) (statement of Rep. Hughes).
    16
         Id.
    17
         Id. at H7907 (statements of Reps. Baker and Lungren).
    18
         134 Cong. Rec. S16186 (daily ed. Oct. 12, 1988).
    19
         134 Cong. Rec. S17337 (daily ed. Oct. 18, 1988) (statement of Sen. Biden).
    20
         Pub. L. No. 100-690.
    21
      Anabolic Steroid Control Act of 1990, Pub. L. No. 101-647, §§ 1901-1907, 104 Stat.
    4852, 4858, 4932 (1990).

                                                  4
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 6 of 32 PageID #: 135



                 2.      Anabolic Steroid Restriction Act of 1989: H.R. 995/S. 466 (Proposed)

         The use and distribution of anabolic steroids was the subject of pending bills in both
 houses of the 101st Congress. Proposed legislation, the Anabolic Steroid Restriction Act of
 1989, first addressed the distribution and availability of steroids through the mail.22 In March,
 1989, the House Committee on the Judiciary’s Subcommittee on Crime conducted a hearing that
 examined the Anabolic Steroid Restriction Act, and the use and effects of anabolic steroids by
 athletes.23 A diverse group testified: a medical professor, postal inspector, high school principal,
 and an athlete, Carl Lewis, who months later would win the gold medal in the 100 meter dash at
 the Olympics following the disqualification of the race’s winner, Ben Johnson, after he tested
 positive for steroids. The Subcommittee’s hearing, however, ended legislative action in the
 House on the Anabolic Steroid Restriction Act. In the Senate, Sen. Biden introduced a
 companion bill, but the proposed legislation never made it out of committee.24

                 3.      Steroid Trafficking Act of 1989/1990: S. 1829 (Proposed)

         A month after the House’s hearing on the Anabolic Steroid Restriction Act, the Senate
 Committee on the Judiciary conducted a hearing entitled “Steroids in Amateur and Professional
 Sports: The Medical and Social Costs of Steroid Abuse.”25 The Committee convened twice,
 once in Newark, New Jersey, in April 1989, and again on Capitol Hill a month later. Almost
 twenty individuals testified. Professional sports team trainers; current and former professional
 football players; National Football League (NFL) coaches, including Marty Schottenheimer,
 head coach of the Kansas City Chiefs and Chuck Noll, head coach of the Pittsburgh Steelers;
 college football coaches, including Joe Paterno, head coach of Penn State University and Bo
 Schemberchler, head coach of the University of Michigan; and the Commissioner of the NFL
 appeared before the Committee.

        In this hearing witnesses testified about rampant use of steroids in the NFL, which
 became the first professional sports league to conduct steroid testing.26 Sen. Biden (then-
 chairman of the Judiciary Committee) stated during the hearing that he was considering



    22
         Anabolic Steroid Restriction Act of 1989, H.R. 995, 101st Cong. (1989).
    23
      Anabolic Steroid Restriction Act of 1989: Hearing Before the House Comm. on the
    Judiciary, 101st Cong. (1989).
    24
         S. 466, 101st Cong. (1989).
    25
     Steroids in Amateur and Professional Sports: The Medical and Social Costs of Steroid
    Abuse: Hearing Before the Sen. Comm. on the Judiciary, 101st Cong. (1989).
    26
      The Major League Baseball hearings undertaken by Congress during the first session
    of the 108th Congress mirrored the hearings into steroids abuse in the NFL.

                                                  5
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 7 of 32 PageID #: 136



 proposing legislation to make steroids a controlled substance, thus making possession a criminal
 offense.27

         Sen. Biden subsequently introduced S. 1829, “The Steroid Trafficking Act of 1989,” on
 November 1, 1989.28 The legislation defined anabolic steroids and proposed amending a section
 of the Controlled Substances Act, to add steroids as a Schedule II substance.29

         In a floor statement introducing the legislation, Sen. Biden described steroids as both
 dangerous and addictive, presenting the same threats to society as other “hard drugs.”30 His bill,
 he argued, prevented illegal steroid use in three ways: (1) it sharply increased the penalties for
 trafficking steroids to the same level as for trafficking cocaine and heroin; (2) it transferred
 investigatory and regulatory powers from the Food and Drug Administration (FDA) to the Drug
 Enforcement Administration (DEA); and (3) it required U.S. agencies to include steroids in
 general drug prevention and treatment programs.31

          Additionally, the Steroid Trafficking Act of 1989 proposed amending part of the Food,
 Drug, and Cosmetic Act, 21 U.S.C. § 333, by modifying subsection (e), which had been added
 by the Anti-Drug Abuse Act of 1988 and made the possession with intent to distribute anabolic
 steroids a felony.32 The modified subsection (e) also would have made possession with the intent
 to distribute Human Growth Hormone (HGH) a felony punishable by a sentence of up to five
 years. That maximum doubled if the offense involved a minor.

         The Senate Committee on the Judiciary reported S. 1829 favorably.33 In its report, the
 Committee explained its decision to designate steroids as a Schedule II substance. The
 Controlled Substances Act establishes a three part test for classification under Schedule II: (1)
 the drug or other substance has a high potential for abuse; (2) the drug or other substance has a
 currently accepted medical use in treatment in the United States or a currently accepted medical




    27
     Christine Brennan, Senate Panel Told of Steroid Use in NFL, The Washington Post,
    May 10, 1989, at B1.
    28
      The Steroid Trafficking Act of 1989, S. 1829, 101st Cong. (1989). When Congress
    considered the bill in 1990, it became the Steroid Trafficking Act of 1990.
    29
         Id.
    30
         135 Cong. Rec. S14523 (daily ed. Nov. 1, 1989) (statement of Sen. Biden).
    31
         Id.
    32
         Pub. L. No. 100-690.
    33
         S. Rep. No. 101-433 at 10 (1990).

                                                 6
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 8 of 32 PageID #: 137



 use with severe restrictions; and (3) abuse of the drug or other substance may lead to severe
 psychological and physical dependence.34

         The Committee found that anabolic steroids satisfied this test.35 First, the estimated one
 million illegal steroid users, half of them high school students, indicated a high potential for
 abuse of steroids.36 Second, the Committee concluded that steroids treat medical conditions,
 satisfying the second part of the test.37 Third, the Committee noted that many medical and
 public health experts concluded that steroids can lead to psychological addiction, and a small
 number of studies indicated that steroid abuse leads to physical dependence.38 Ultimately, the
 Committee concluded that steroids possessed the same abuse potential as cocaine hydrochloride,
 and should be regulated under the tight controls of Schedule II.39

        On October 24, 1990, in a floor statement made before the Senate voted on S. 1829, Sen.
 Biden decried the ability of the FDA to effectively control illegal steroid trafficking.40 He noted
 four major deficiencies in the FDA’s regulation of the steroids: 1) a third of illegal steroids were
 diverted to the black market from legal U.S. drug manufacturers; 2) the FDA had inadequate
 personnel to police a $300 to $400 million illicit trade; 3) those personnel lacked the authority
 and expertise effectively to combat illicit drug trafficking; and 4) the FDA lacked a reliable
 accounting system to track the production of steroids, and monitor what percentage of the drugs
 end up on the black market.41 The Senate passed S. 1829 on that day by voice vote, and the bill
 was referred to the House, where it died in committee.

                 4.      H.R. 3421 (Proposed)

        While the Senate passed Sen. Biden’s legislation designating anabolic steroids as a
 Schedule II substance, the first steroid bill proposed in the House during the 101st Congress,
 H.R. 3421, introduced by Representative Mel Levine on October 20, 1989, also designated




    34
         21 U.S.C. § 812(c) (1994).
    35
         S. Rep. No. 101-433 at 12 (1990).
    36
         Id.
    37
         Id.
    38
         Id.
    39
         Id.
    40
         136 Cong. Rec. S16616 (daily ed. Oct. 24, 1990) (statement of Sen. Biden).
    41
         Id.

                                                  7
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 9 of 32 PageID #: 138



 anabolic steroids as a Schedule II substance.42 The proposed legislation, however, never made it
 out of committee.

          B.       The Anabolic Steroid Control Act of 1990

                   1.     House Version (H.R. 4658/5269)

         In 1990, the House took the lead in trying to overcome the stalled progress of steroid
 legislation by considering legislation designating steroids as Schedule III substances, not
 Schedule II.

          On March 22, 1990, the Subcommittee on Crime of the House Committee on the
 Judiciary held a hearing entitled “Abuse of Steroids in Amateur and Professional Athletics.”43 In
 the first of two hearings on steroids by the Subcommittee, the March hearing gathered testimony
 from an array of medical professionals and amateur and professional athletic figures. Much of
 the testimony addressed the use and testing of steroids in the NFL and National Collegiate
 Athletic Association (NCAA). The NFL’s Commissioner, Paul Tagliabue, described the
 league’s newly implemented random steroid testing procedure, while the Committee learned
 about steroid use and testing in intercollegiate athletics from Frank Uryasz, director of sports
 sciences for the NCAA. Three doctors also testified, detailing the medical effects of steroid
 abuse.44

         The March hearing resulted in legislation, H.R. 4658, The Anabolic Steroid Control Act
 of 1990, introduced by Rep. Hughes on April 26, 1990.45 This bill proposed amending the
 Controlled Substances Act, 21 U.S.C. § 812(c), to add anabolic steroids as a Schedule III
 substance, making possession illegal.46 H.R. 4658 also proposed amending the Controlled
 Substances Act to provide criminal penalties, up to a maximum of two years’ imprisonment, for
 personal trainers and coaches who attempted to induce or persuade athletes to use or possess
 anabolic steroids. The two year maximum increased to five years, if the athlete was a minor.
 Similarly to Sen. Biden’s S. 1829,47 H.R. 4658 proposed to modify Section 333(e) of the Federal
 Food, Drug, and Cosmetic Act, 21 U.S.C. § 333, to proscribe the distribution of HGH. But
 unlike the Senate bill discussed below, H.R. 4658 preserved the statutory maximum of three
 years in Section 333(e), or six years if the crime involved a minor.

    42
         H.R. 3421, 101st Cong. (1989).
    43
      Abuse of Steroids in Amateur and Professional Athletics: Hearing Before the
    Subcomm. on Crime of the House Comm. on the Judiciary, 101st Cong. (1990).
    44
         Id.
    45
         The Anabolic Steroid Control Act of 1990, H.R. 4658, 101st Cong. (1990).
    46
         Id. at § 2(b).
    47
         The Steroid Trafficking Act of 1989, S. 1829, 101st Cong. (1989).

                                                  8
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 10 of 32 PageID #: 139



         The Subcommittee on Crime convened again on May 17, 1990, to consider H.R. 4658.48
 Rep. Levine, sponsor of H.R. 3421, which proposed designating anabolic steroids as a Schedule
 II substance, testified. Rep. Levine argued that Congress should place steroids in Schedule II
 because both tighter controls on distribution and a thicker paper trail accompany that class of
 drugs.49 Rep. Levine specifically noted that pharmacists have to keep records of all Schedule II
 sales and that manufacturers must report sales to the DEA.50 Committee Chairman Hughes
 expressed concern over the penalty structure of Schedule II, noting that while the maximum
 penalty for possession for both schedules was one year, the penalty under Schedule II for
 distribution was up to twenty years.51 In a typical situation, where young users share steroids
 with others, Rep. Hughes considered the twenty year penalty excessive.52 Rep. Levine agreed,
 but suggested that the twenty year penalty, while excessive for a typical user, was appropriate for
 major distributors of illegal steroids.53 Chairman Hughes further explained that the current
 medical understanding of the use and effects of steroids indicated a more appropriate placement
 in Schedule III.54

        The May 1990 hearing seemed to end the debate in the House over whether to designate
 anabolic steroids as Schedule II or III. H.R. 4658, which added steroids to Schedule III,
 subsequently became incorporated into a larger bill, H.R. 5269, the Comprehensive Crime
 Control Act of 1990.55 The House Committee on the Judiciary reported H.R. 5269 favorably on
 July 23, 1990, and the House passed the Act on October 5, 1990.

                      2.   Senate Version: S. 3266

         The Senate’s version of the Crime Control Act of 1990, S. 3266, A Bill to Control
 Crime,56 introduced by Sen. Biden on October 27, 1990, also designated steroids as a Schedule
 III substance. The Senate bill, however, differed in some respects from the House’s steroid bill
 and as a result of a joint conference after S. 3266 passed the Senate, the provisions of the


    48
      Anabolic Steroid Control Act: Hearing on H.R. 4658 Before the Subcomm. on Crime of
    the House Comm. on the Judiciary, 101st Cong. (1990).
    49
         Id. at 14.
    50
         Id.
    51
         Id.
    52
         Id.
    53
         Id. at 15.
    54
         Id. at 16.
    55
         Comprehensive Crime Control Act of 1990, H.R. 5269, 101st Cong. (1990).
    56
         A Bill to Control Crime, S. 3266, 101st Cong. (1990).

                                                     9
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 11 of 32 PageID #: 140



 Senate’s version of the Anabolic Steroid Control Act prevailed and changed the House bill in
 two major ways.57 First, the conference eliminated the amendment providing criminal penalties
 for coaches and trainers.58 Second, the penalties provided for the distribution of HGH increased
 to a five year maximum for possession with the intent to distribute, and doubled to ten years if
 the offense involved a minor.59 The President signed S. 3266 into law, on November 29, 1990,
 designating anabolic steroids as a Schedule III substance for the first time.60

          C.         The Commission’s Response

         Reacting to Congress’ decision to place steroids among the designated Schedule III
 substances, the Commission worked to meet the challenges associated with placing steroids
 within the existing framework for computation of sentences for Schedule III drugs. In
 November 1990, a Commission staff Drug Working Group (the Group) prepared an intra-agency
 report, the1990 Steroids Report, that proposed incorporating steroids into the existing
 framework of the drug guideline, USSG §2D1.1, which uses a drug quantity table to establish the
 base offense level.61 The Commission later adopted the amendment as proposed in the report.

         The 1990 Steroids Report distinguished the combination or “stacking” common to
 steroids users from users of other Schedule III substances who generally do not employ this type
 of sophisticated drug intake. While these characteristics made steroids hard to fit in the
 guidelines, the lack of information about typical usage made placement even more complex.
 The 1990 Steroids Report concluded that, at best, the Group could give a “ball park” figure as to
 the amount of steroids a “typical” user consumes during a given cycle, and noted that some
 individuals would consume substantially more, or significantly less, than a “typical” user.62




    57
         H.R. Report No. 101-1015 (1991).
    58
         Id.
    59
         Id.
    60
         Crime Control Act of 1990, Pub. L. No. 101-647, 104 Stat. 4789 (1990).
    61
         The 1990 Steroid Report is attached to this report at Appendix B.
    62
         Id. at 7.

                                                  10
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 12 of 32 PageID #: 141



         Nonetheless, the Group did recommend that the Commission employ a table provided by
 the FDA to use as a baseline for a typical user in an eight week cycle, differentiating between
 pills and vials, as depicted on the following table:

                  Week 1                        14 Pills                100 mg Injectable
                  Week 2                        21 Pills                150 mg Injectable
                  Week 3                        28 Pills                150 mg Injectable
                  Week 4                        35 Pills                200 mg Injectable
                  Week 5                        25 Pills                200 mg Injectable
                  Week 6                        28 Pills                150 mg Injectable
                  Week 7                        21 Pills                100 mg Injectable
                  Week 8                        14 Pills                100 mg Injectable

                      Total                     196 Pills              1150 mg Injectable

         With the complexities and characteristics of steroids noted, the Group grappled with the
 issues of measurement and quantity, determining that a base offense level for steroids that was
 based upon weight, as used with other Schedule III substances at that time, presented numerous
 problems. Weighing all steroids the same, disregarding type, form, and potency would lead to a
 grossly disproportionate relationship between culpability and punishment.63

         Specifically, the weight of a vial, which may come in numerous different potencies, may
 differ drastically from the same drug in pill form, which may also vary in potency.64

        In an attempt to solve these potential discrepancies, the Group proposed employing a
 calculus based on quantity, rather than weight. The Group used the DOJ’s proposed pill-to-vial
 conversion ratios:

                              1 unit = 1 vial @ 10 cc or 50 pills

         The Group gave little explanation for why it adopted these formulas, stating in the report
 that the “calculation is based on common dosages of frequently used steroids.”65 The Group
 recognized the shortcoming of the quantity approach, that different potency pills are treated
 similarly, but explained that judges do not take potency differences into account at sentencing,
 and further noted that distinguishing between potencies would make guideline drafting
 impossible.66



    63
         Id. at 12.
    64
         Id.
    65
         Id.
    66
         Id. at 13.

                                                   11
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 13 of 32 PageID #: 142



         The sentencing guidelines provided a base offense level ranging from 6 to 20 for
 Schedule III drugs. The problem still remained, however, of fitting steroids, which were
 calculated by quantity, into USSG §2D1.1's drug quantity table, which solely used weight as a
 measurement of the base offense level. The Group solved this problem by using the unit formula
 mentioned previously to correspond to a weight for other Schedule III substances:

                            1 unit = 2 grams of Schedule III substance

        The DOJ proposed this conversion ratio of units to grams before Congress designated
 anabolic steroids a Schedule III substance.67

         Although USSG §2D1.1 currently measures all Schedule III substances in units, the
 guidelines did not measure Schedule III substances in units when Congress passed the Anabolic
 Steroid Control Act of 1990. The Commission’s 1991 amendment to USSG §2D1.1 responding
 to the 1990 Act made steroids the only Schedule III substance using the unit formula.68 The rest
 of the Schedule III substances had individual conversion ratios to calculate the substances’
 weight into grams of marijuana. In 1995, the Commission changed the weight conversion
 system to a unit system for the rest of the Schedule III substances and Schedule I and II
 depressants.69

         While the Group proposed adopting DOJ’s weight to unit conversion ratio, in order to
 solve the problem of implementing steroids into the weight-based USSG §2D1.1, DOJ’s
 proposed number of units corresponding to base offense levels did not fit into §2D1.1.70 The
 DOJ’s proposed base offense levels did not match the Schedule III range of 6 to 20, but instead
 started at level 8 and ended at level 19.71 The Group proposed refining the DOJ proposal to
 make it fit into the guidelines drug quantity table. This chart reveals the difference:




    67
         Id. at 14.
    68
         U.S. Sentencing Commission, Guidelines Manual, Amend. 369 (2005).
    69
      Id. at §2D1.1, notes to Drug Quantity Table (F) (2005). In a 1995 amendment, the
    Commission established a formula for the conversion of all Schedule I and II
    depressants, and Schedule III substances, except steroids: one pill, capsule, or tablet
    equaled one unit. If the substance is liquid form, weight is still used, and one unit is 0.5
    grams of liquid. USSG, Amend. 517 (2005). The rationale for the change appears to be
    similar to the unit system for steroids. In the Reasons for Amendment to Amendment 517
    the Commission noted that using the total weight of a pill had almost no correlation to
    the pill’s potency, or to the gravity of the offense. Id.
    70
         The Memo, supra note 4, at 14.
    71
         Id.

                                                12
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 14 of 32 PageID #: 143



     Base Offense Level          DOJ Proposal In Units           Commission Response in Units
     6                                                           Fewer than 250
     7
     8                           Fewer than 500                  250-1000
     9                           500-1000
     10                          1001-2000                       1001-2500
     11                          2001-4000
     12                          4001-8000                       2501-5000
     13                          8001-16,000
     14                          16,001-32,000                   5001-10,000
     15                          32,001-64,000
     16                          64,001-128,000                  10,001-20,000
     17                          128,001-250,000
     18                          250,001-500,000                 20,001-40,000
     19                          500,000+
     20                                                          40,001+

         The Group conceded in the 1990 Steroids Report that it had little concept of how this
 system was going to impact actual steroid users and dealers, noting that “the practical effect of
 adopting this chart is difficult to predict” and hoped that public comment on the proposed
 amendment would reveal some of the amendment’s real-world effects.72 The Group did
 calculate the impact the system would have on the “typical” user, who uses five units in an eight-
 week period, and based the 250 unit baseline on a dealer who could distribute a steroid supply
 for more than one cycle to about 15 people.73 The Group also suggested that the increased base
 offense levels could be interpreted as an appropriate response to Congress’ designation of
 steroids as a Schedule III substance.74

          D.          The Anabolic Steroid Control Act of 2004

          Congressional attention on steroid abuse surfaced again in 2003, promoted by
 media reports about the pervasive use of steroids in professional and amateur sports and the
 growing number of “designer” steroids and steroids precursors.75 Sen. Biden and Rep. John
 Sweeney, both of whom had been heavily involved in earlier debates about steroids, introduced
 bills related to steroids in 2003. Their respective bills were focused on anabolic steroid
 precursors. Sen. Biden’s bill, S. 1780, included a directive to the Commission to “review the
 Federal sentencing guidelines for crimes involving anabolic steroids and consider increasing

    72
         Id. at 15.
    73
         Id.
    74
         Id. at 16.
    75
      149 Cong. Rec. S13139-40 (daily ed. Oct. 23, 2003) (statement of Sen. Biden).
    Steroids precursors provide many of the same effects as anabolic steroids.

                                                   13
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 15 of 32 PageID #: 144



 them.”76 Senator John McCain also introduced a steroids bill in 2003. His bill directed the
 National Institute of Standards and Technology to establish a program that would have allowed
 for the detection of illegal steroids in athletes.77 Congress did not take final action on the
 proposed legislation during the first session of the 108th Congress.

         In 2004, Congress revisited the steroids issue, this time addressing specific concerns
 about the use of steroids in Major League Baseball. In April 2004, Sens. McCain and Biden,
 among others, co-sponsored a “sense of Congress” resolution “expressing the sense of the Senate
 that Major League Baseball clubs and their players should take immediate action to adopt a
 drug-testing policy that effectively deters Major League Baseball players from using anabolic
 steroids and any other performance enhancing substances. . . .”78

         On March 1, 2004, Representative F. James Sensenbrenner, Jr. introduced H.R. 3866,
 which proposed expansion of the list of steroids proscribed as Schedule III substances to include
 steroid precursors, and to increase penalties for steroid offenses conducted within 1,000 feet of
 sports facilities.79 The legislation also included a directive to the Commission similar to that set
 out in Sen. Biden’s pending legislation. Specifically, Section 3 of H.R. 3866 directed the
 Commission to “consider amending the Federal sentencing guidelines to provide for increased
 penalties with respect to offenses involving anabolic steroids in a manner that reflects the
 seriousness of such offenses and the need to deter anabolic steroid use.”80

         On March 16, the House Committee on the Judiciary’s Subcommittee on Crime,
 Terrorism, and Homeland Security held a legislative hearing on anabolic steroid use and H.R.
 3866.81 Representative Howard Coble, Chairman of the Subcommittee, noted in his opening
 remarks that although the International Olympic Committee and other professional athletic
 associations banned steroid precursors, purchase of such drugs remained legal in the United
 States.82 Emphasizing the prevalence of anabolic steroid use in all levels of sport,




    76
         149 Cong. Rec. S13140 (daily ed. Oct. 23, 2003) (statement of Sen. Biden).
    77
     Athletic Performance-Enhancing Drugs Research and Detection Act, S. 1002, 108th
    Cong. § 102 (2003).
    78
         S. Res. 335, 108th Cong. (2004).
    79
         Anabolic Steroid Control Act, H.R. 3866, 108th Cong. (2004).
    80
         Id. at § 3 (2004).
    81
     Anabolic Steroid Control Act of 2004: Hearing on H.R. 3866 Before the Subcomm. on
    Crime, Terrorism, and Homeland Security of the House Comm. on the Judiciary, 108th
    Cong. (2004).
    82
         Id. at 1.

                                                  14
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 16 of 32 PageID #: 145



 Rep. Coble expressed the Committee’s desire to reduce the ill-effects of steroid use for adults
 and youths.83

          The Subcommittee heard testimony from Rep. Sweeney, a co-sponsor of H.R. 3866. A
 longtime advocate of banning steroid precursors, Rep. Sweeney’s earlier legislative efforts
 served as a template for Rep. Sensenbrenner’s legislation.84 Rep. Sweeney recalled the event
 that started his crusade: a question by his teenage son of how a steroid precursor called “Andro”
 could be “bad” for anyone when it was widely available over the counter.85 This experience
 prompted Rep. Sweeney to investigate the uses and effects of Andro, a substance that Mark
 Maguire confessed to using, and found that sales of the substance quadrupled after Mr. Maguire
 hit 70 homeruns in 1998, breaking Roger Marris’s longstanding record.86 Serious health
 consequences accompany the use of Andro, a “functional equivalent of steroids.”87 That finding
 prompted Rep. Sweeney to introduce legislation banning the substance from over the counter
 sales.88

         The Subcommittee also received testimony from Joseph Rannazzisi, Deputy Director of
 the Office of Diversion Control for the DEA.89 Mr. Rannazzisi highlighted that the monitoring
 and scheduling of steroids is difficult because of a “continuous rapid introduction of new
 steroids.”90 Endorsing the Act completely, he highlighted two provisions that would make
 enforcement easier by the DEA. First, it would give DEA authority to enforce trafficking
 violations of steroid precursors and “designer steroids” that were being characterized as dietary
 supplements.91 Second, the legislation would eliminate the requirement in the Anabolic Steroid
 Control Act of 1990 that the DEA prove a substance enhances muscle growth to schedule a new
 steroid.92


    83
         Id.
    84
      H.R. 5564, 107th Cong. (2002) introduced by Rep. Sweeney. The bill died in
    committee.
    85
         Hearing on H.R. 3866, supra note 80, at 4, 5.
    86
         Id. at 5.
    87
         Id.
    88
         Id.
    89
         Id. at 6.
    90
         Id. at 7.
    91
         Id.
    92
      Id. The Anabolic Steroid Control Act of 1990 contained a four part test for the DEA to
    classify new steroids as a Schedule III steroid. One part questioned whether the steroid

                                                  15
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 17 of 32 PageID #: 146



          Dr. Ralph Hale, Chairman of the United States Anti-Doping Agency (USADA), also
 testified before the subcommittee.93 Dr. Hale argued that legislative action should be taken to
 prevent the continued influx of steroid precursors and steroids into a market of consumers
 unaware of the substances’ medical risks.94 Dr. Hale stated that “the USADA believes the
 current effectively unregulated availability of products containing steroid precursors in the
 United States is a health crisis that affects not just elite athletes, but every consumer who takes
 one of these products without being informed of the risks.”95 Dr. Hale recommended regulation
 of steroid precursors as the best way to stop the production and mitigate health risks.96

         Finally, Robert Hazelton, a former boxer and steroid user, testified.97 Now an advocate
 for adolescent steroid awareness, Mr. Hazelton told the Committee of a personal and tragic
 history of steroid abuse that he believes ultimately led to the amputation of his two legs and
 countless recurring medical problems.98

         All Committee members who asked questions during the hearing voiced support for H.R.
 3866. Of particular note, Representative Robert Scott asked Deputy Director Rannazzisi why
 the number of steroid prosecutions had been low.99 Mr. Rannazzisi responded that the
 widespread availability of legal steroid precursors brought the Schedule III anabolic steroids into
 disuse.100

        A number of different sentencing issues arose during the full House Judiciary
 Committee’s mark up of H.R. 3866 on April 2, 2004.101 Ranking Member John Conyers, Jr.
 supported the legislative proposal because it would increase the criminal penalties associated
 with the distribution of steroid precursors. He further expressed concern that under the current


    promoted muscle growth. However, there was a lack of accepted methodology available
    to validate this requirement. With that requirement in place, the DEA previously had
    failed to designate any steroid as a Schedule III substance. Id.
    93
         Id. at 10.
    94
         Id. at 11.
    95
         Id. at 13.
    96
         Id.
    97
         Id. at 14.
    98
         Id. at 14-15.
    99
         Id. at 31-32.
    100
          Id. at 32.
    101
          H.R. Rep. No. 108-461 (2004).

                                                 16
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 18 of 32 PageID #: 147



 guidelines, because the maximum base offense level for a Schedule III substance is 20, the
 maximum sentence for a first time offender is only 33-41 months.102 To obtain the maximum
 sentence, Rep. Conyers noted that the “offender would have to have between 40,000 and 60,000
 units which is defined as a 10 cc vial or 50 tablets.”103

         Additionally, in an exchange with Chairman Sensenbrenner, Representative Melvin Watt
 expressed concern about the underlying rational for doubling the penalty for offenses within
 1,000 feet of an athletic facility, and what “doubling” the sentence meant. It was explained that
 the increased penalty aimed at deterring offenses near an athletic facility, where, according to
 testimony presented at the subcommittee hearing, most violations occur. Rep. Watt revealed his
 preference that the Commission calculate the appropriate sentences. Chairman Sensenbrenner
 described the double penalty as modeled on the drug-free school zone statute, explaining it
 would allow a judge to sentence up to twice the maximum if the offense occurred near an
 athletic facility.

         The Senate companion bill, S. 2195 (the Anabolic Steroid Control Act of 2004),
 introduced by Sen. Biden, was reported by committee and passed by the Senate with minimal
 debate.104 Introduced on March 11, 2004, S. 2195 differed from the House legislation in two
 major respects: (1) it did not increase penalties for offenses near sporting facilities; and (2) it
 included funding for education programs in elementary and secondary schools. It did, however,
 retain the directive to the Commission to review and amend the guidelines to reflect the
 seriousness of steroids offenses and provide effective deterrence. On October 6, 2004, the
 Senate passed S. 2195 by unanimous consent.105 The House ultimately adopted the Senate’s
 version of the bill and on October 22, 2004, it was enacted as the Anabolic Steroid Control Act
 of 2004, Pub. L. No. 108-358.106


    102
       Citations to H.R. Rep. No. 108-461 (2004) have been omitted because the document is
    not paginated.
    103
       This statement is only partially correct. To obtain the maximum base offense level, an
    offender must have more than 40,000 units. There is no upper limit of 60,000 units.
    104
       Anabolic Steroid Control Act, S. 2195, 108th Cong. (2004). (S. 1780, the Anabolic
    Steroid Control Act, which was similar legislation introduced the year before by Sen.
    Biden, never made it out of committee).
    105
       Prior to the bill’s passage, Sens. Biden, Orrin Hatch, Ted Kennedy, and Dick Durbin
    addressed the omission of DHEA, a steroid precursor, from the list of banned steroids.
    150 Cong. Rec. S10606-09 (daily ed. Oct. 6, 2004). The floor debate questioned the
    criteria DEA could use to ban the substance, and concluded that if DHEA is abused and
    unregulated by DEA, further congressional action may be required. Id. Legislation has
    been introduced during the 109th Congress to add DHEA to the list of scheduled
    precursors but it has not moved.
    106
          The Anabolic Steroid Control Act of 2004, Pub. L. No. 108-358, 118 Stat. 1661 (2004).

                                                 17
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 19 of 32 PageID #: 148



          E.    Commission Response to the Anabolic Steroid Control Act of 2004

         The Commission recognized the seriousness of steroid offenses and the need to fulfill the
 congressional directive contained in the Anabolic Steroid Control Act of 2004. At a public
 hearing held by the Commission on April 12, 2005, similar questions to those raised when the
 Commission considered the issue in 1990 were posed by current Commissioners about the
 uniqueness of steroid users and its abuse generally when compared to other controlled
 substances, the harms associated with steroid abuse, and how to characterize the typical steroid
 trafficker.

         Commissioners requested further information on a number of different points.107
 Regarding the quantities of steroids generally trafficked, Rick Collins, testifying on behalf of the
 National Association of Criminal Defense Lawyers, responded that typically, there are two
 categories of traffickers. The more typical scenario consists of smaller scale dealers who tend to
 be users who collectively pool their funds among two or three others to acquire steroids through
 mail order, with that user acting as the recipient who then distributes the steroids to the group.
 With respect to the larger scale traffickers, Mr. Collins stated those individuals typically are not
 within the user community and instead traffick for the money, often also trafficking other
 controlled substances. However, the larger scale traffickers, in his opinion, are few and far
 between because of the ready accessibility of steroids by international mail order and through the
 Internet.

          Additionally, Mr. Collins was asked about the level of violence associated with the use of
 steroids, particularly in young people. Mr. Collins first cautioned the Commission that those
 cases discussed in the media are isolated incidents which are anectodal in nature. He also stated
 that Dr. Charles Yesalis, who testified before Congress during debate on the Anabolic Steroid
 Control Act of 1990, has argued that the idea of “roid rage” as a typical psychotic steroid-
 induced behavior has been greatly exaggerated. However, he discussed studies conducted by Dr.
 Jack Darkes in which it was found that there is some correlation between higher testosterone
 levels, even when occurring naturally, and aggressive behavior. In the context of male teenage
 users, Mr. Collins explained that their hormone levels have been found to be as high as hardened
 adult steroid users but stated that in those isolated incidents where steroids may have played a
 role, steroid use was more likely one of a matrix of factors.

         Finally, when asked to discuss whether some state legislatures have indicated a certain
 amount of either pills or liquids would constitute trafficking, Mr. Collins stated it was difficult to
 provide a quantification on the amount constituting personal use as compared to an amount
 indicating trafficking on the state level, characterizing the states’ approach as a “crazy quilt of
 laws.”108 In some states, Mr. Collins noted, the mere possession of a steroid is a felony and in
 some, it is a misdemeanor. For example, he stated in Louisiana, possession of any amount is


    107
        Id., Testimony of Rick Collins before the United States Sentencing Commission,
    April 12, 2005. Available at: http://www.ussc.gov/hearings/04_12_05/Collins.pdf.
    108
          Id.

                                                  18
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 20 of 32 PageID #: 149



 punishable by up to five years in prison with or without hard labor. He further advised that two
 states, Vermont and Alaska, had not scheduled anabolic steroids in any way as of the date of the
 hearing, but that Alaska had a bill in the legislature to address the issue. In addition, Mr. Collins
 indicated that with respect to dosages, the concept of tablets and cc’s is irrelevant because users
 think in terms of milligrams, a potency measurement, with the important point being the
 milligram amount of the active ingredient.

         Although Commission staff had ongoing and informative discussions with DOJ
 representatives about these and other issues, staff were unable to provide satisfactory responses
 to Commissioner questions about steroids offenses. In April 2005, Commissioners decided to
 table a vote on amending the guidelines for steroids offenses and instead conduct more research
 and update the Commission’s 1990 Steroid Report.

         To ensure that the Commission’s work in this area was conducted as quickly as possible,
 the Commission sought and received emergency amendment authority from Congress to address
 steroids offenses outside its normal, year-long notice and comment cycle. Instead, the
 Commission sought a six-month review and promulgation period. On July 1, 2005, the Senate
 passed legislation, S.1368, granting the Commission emergency amendment authority to amend
 the sentencing guidelines, commentary, and policy statement to implement the Anabolic Steroid
 Control Act of 2004. 109 The House introduced companion legislation, H.R. 3020, but on
 September 22, 2005, it adopted the Senate bill. The bill became Pub. L. No. 109-76 on
 September 27, 2005. The Commission has until March 27, 2006, to promulgate an emergency
 amendment to the guidelines for steroids offenses. The emergency amendment is required to be
 re-promulgated as part of the Commission’s package of regular amendments and submitted to
 Congress for its consideration on May 1, 2006, or else the emergency amendment will expire by
 November 1, 2006.

 IV.         FINDINGS REGARDING STEROIDS OFFENSES TODAY

         In the months since the enactment of the Anabolic Steroid Control Act of 2004, the
 Commission has been engaged in a number of activities geared toward implementing the
 directive contained in the Act and updating the Commission’s 1990 Steroid Report. Specifically,
 on September 27, 2005, the Commission hosted a roundtable discussion that included experts
 from the scientific community, a government health agency, law enforcement, and the defense
 community.110 Commission staff also attended congressional hearings related to steroids and
 Major League Baseball, met with congressional staff working on steroids issues, and worked
 with the Government Accountability Office (GAO) on its report on steroids penalties. The
 results of the Commission’s work to update its 1990 Steroids Report is set forth in Part IV of this
 report.


       109
         United States Parole Commission Extension and Sentencing Commission Authority
       Act of 2005, S. 1368, 109th Cong. (2005).
       110
         A list of attendees and the questions covered by the roundtable are attached at
       Appendix A.

                                                  19
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 21 of 32 PageID #: 150



          A.    The Commission’s 1990 Steroids Report

        In the 1990 Steroids Report, the Commission recognized Congress’ growing concern for
 the health risks of illegal steroid use and its widespread abuse. The report found the following:

          (1)   Illegal steroid use involved using a number of steroids “stacked” together to
                manage potency and taken for specific “cycles” ranging from six to eight weeks.

          (2)   A body of scientific literature existed documenting the side effects of steroid use
                in various organ systems, and that those effects differed by gender of the user.

          (3)   Information provided by DEA, reflecting then current knowledge, indicated that
                steroids were not physically or psychologically addicting.

          (4)   Steroids differed somewhat from other controlled substances both in the array of
                types of steroids being criminalized and in the varying dosages available.

          (5)   Characteristics of steroid users were different from that of users of other
                controlled substances.

          (6)   Steroid traffickers could be roughly categorized as small (less than 10 customers),
                medium (10 to 20 customers), large (more than 20 customers), and huge
                wholesalers (“with ongoing businesses grossing hundreds of thousands of
                dollars”).

          (7)   Penalties for steroid offenses had typically resulted in sentences of probation.

          (8)   Steroid offenses were not covered by the sentencing guidelines.

        The DOJ recommended a sentencing scheme that was considered by the Commission but
 found to be difficult to implement within the existing drug trafficking guidelines.111 The
 Commission modified the DOJ’s suggested method and created a more severe penalty structure
 that was consistent with the drug guideline.



    111
       Although the drug guideline, USSG §2D1.1, currently measures all Schedule III drugs
    in units, the guidelines did not measure Schedule III substances in units when the
    Commission’s 1991 amendment to §2D1.1, responding to the 1990 Act, made steroids
    the only Schedule III substance using the unit formula. The rest of the Schedule III
    substances had individual conversion ratios used to calculate the substances’ weight into
    grams of marijuana. In 1995, the Commission changed the weight conversion system to
    a unit system for the rest of the Schedule III substances and Schedule I and II
    depressants. At that time, the Commission established the current definition of one pill
    equaling one unit while maintaining the existing penalty for steroids, thus creating a
    distinction between steroid penalties from penalties for other Schedule III substances.

                                                 20
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 22 of 32 PageID #: 151



          B.     Steroids Today

        Information regarding the pattern of use, prevalence, and harms associated with steroid
 abuse is very similar in 2006 to the information available to the Commission in 1990 with two
 major differences:

          First, steroids are now considered potentially addictive, with documented withdrawal
          symptoms.

          Second, steroids are primarily distributed through use of the Internet involving
          international sources.

         Additionally, in 1990, one-third of illicitly used steroids were diverted from legitimate
 sources in the United States. Discussion elicited at the September 27, 2005, roundtable
 discussion suggested that by 2005, illegal diversion represented a very small proportion of illegal
 steroid distribution.

                 1.      Prevalence

        In order to gather data on the prevalence of steroid abuse, the Commission staff
 conducted a review of available literature and surveys. The results of this research are outlined
 below.

          Yersalis, et al., (1993) reported steroid use in the general population based upon findings
 from the 1991 National Household Survey on Drug Abuse.112 Estimates from the survey
 indicated that there were 1 million current or former users of steroids in the United States with
 more than 300,000 persons using in the year prior to the survey.113 More recently, NIDA, noting
 in its 2000 publication the scarcity of recent data on adult use, estimated that “hundreds of
 thousands of people aged 18 or older abuse anabolic steroids at least once a year” 114


    112
       C. E. Yersalis, et al., Anabolic-Androgenic Steroid Use in the United States, 270
    Journal of the American Medical Assoc. 10, 1217-1221 (September 8, 1993).
    113
        A current user is defined as someone who has used a drug in the 30 days prior to
    taking the questionnaire and a former user is someone who reports using a drug in their
    lifetime.
    114
       These estimates are approximately the same as reported from the 1994 National
    Household Survey on Drug Abuse, the last year in which questions regarding steroid use
    were included. In 1994 the estimate for lifetime prevalence was 1,084,000 with an
    estimated 312,000 users in the past year. U.S. Department of Health and Human
    Services, Public Health Service, SAMHSA, Office of Applied Studies, Advance Report
    Number 10, Preliminary Estimates from the 1994 National Household Survey on Drug
    Abuse, September 1995, Rockville, MD 20857. Available at:
    http://www.oas.samhsa.gov/ftp/nhsda/ar10all.wpd

                                                  21
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 23 of 32 PageID #: 152



         Congress has expressed its concern with steroid abuse among youth since its
 deliberations in 1988 leading up to making steroid distribution a felony.115 This concern was
 most recently reiterated in the Anabolic Steroid Control Act of 2004. The ongoing Monitoring
 the Future Survey (MTFS) of Grades 8, 10, and 12 provides a window into drug using behaviors
 and attitudes in this population.116 Data from this 2005 survey indicate that the percentage of
 eighth, tenth and twelfth graders using steroids in the past year is 1.1 percent, 1.3 percent, and
 1.5 percent, respectively (Table 1). The prevalence among tenth and twelfth graders has
 declined from prior years, especially among twelfth graders who reported a 2.5 percent
 prevalence rate in 2004. However, while there has been a trending downward generally in the
 annual prevalence of steroid use in these grades, extrapolating downward from eighth grade to
 the corresponding tenth grade (for example, the eighth-grade class of 1991 became the tenth-
 grade class of 1993) and then further to the corresponding twelfth-grade class (which had
 become the twelfth-grade class of 1995) indicates that use typically remains steady or rises with
 age. The recent downturn among twelfth graders in 2005 (from the 1.7 percent of tenth graders
 in 2003) is insufficient to determine if this generally long-standing pattern is changing.117

                                                 Table 2
                      Trend in Annual Percentage of Students Reporting Steroid Use in
                                   Eighth, Tenth, And Twelfth Grade118

                1991    1992   1993   1994   1995   1996   1997    1998      1999   2000   2001   2002   2003   2004   2005


      8th       1.0     1.1    0.9    1.2    1.0    0.9    1.0         1.2   1.7    1.7    1.6    1.5    1.4    1.1    1.1
      10th      1.1     1.1    1.0    1.1    1.2    1.2    1.2         1.2   1.7    2.2    2.1    2.2    1.7    1.5    1.3
      12th      1.4     1.1    1.2    1.3    1.5    1.4    1.4         1.7   1.8    1.7    2.4    2.5    2.1    2.5    1.5
    Source: Monitoring the Future, University of Michigan.

         The MTF survey also reports on attitudes and perceptions of drugs among these student
 samples. In 2005, 56.8 percent of twelfth graders in the sample reported that taking steroids is a
 “great risk.” Responses to this have hovered in the mid to upper fiftieth percentile for several
 years but is lower than its peak level (70.7%) reported in 1992. Also in the 2005 sample, 39.7


    115
          Hughes, supra note 15.
    116
       Monitoring The Future, University of Michigan, Monitoring The Future Survey
    (2005), available at: http://monitoringthefuture.org/data/data/html.
    117
       Id. Data from the 2005 survey further indicate that the percentage of eighth, tenth and
    twelfth graders using heroin in the past year is 0.8 percent, 0.9 percent, and 0.8 percent,
    respectively; cocaine usage in the last year is 2.2 percent, 3.5 percent, and 5.1 percent,
    respectively; and marijuana usage in the last year is 12.2 percent, 26.6 percent, and 33.6
    percent, respectively.
    118
          Id.

                                                                  22
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 24 of 32 PageID #: 153



 percent of twelfth graders reported that it would be “fairly easy” or “very easy” to obtain
 steroids. This represents the first time the response has been below forty percent and is seven
 percentage points below the peak of 46.8 percent also reported in 1992.119

         Steroid abuse is often regarded as being limited to athletes motivated to use steroids for
 their potential to improve performance. However, as indicated by testimony received at the
 Commission last year, reasons for steroid abuse are not limited to enhanced athletic performance
 but also include use for purely cosmetic purposes.120 CBS News recently reported on steroid
 abuse by adolescent girls, two-thirds of whom were using steroids for cosmetic purposes (“to get
 a muscular or cut look”).121 Testimony before the House Committee on Government Reform
 also indicated that steroids are used by some teenage girls for cosmetic purposes, though it is
 unclear how widespread such use is.122

                  2.     Harmful Effects

         Supraphysiologic123 doses of anabolic steroids produce an array of potential health
 consequences, some reversible at discontinuation and others irreversible, that differ for men and
 women. These consequences involve the hormonal, musculoskeletal, and cardiovascular
 systems. Steroid abuse may also cause liver and skin disorders and may increase risk of serious
 infectious diseases associated with use of non-sterile injection equipment and procedures.124
 A good summary of these health related consequences is available from NIDA and is reproduced
 at Figure 1.




    119
       MTFS website tables, supra note 115. See also the GAO Report on Steroids which
    discusses the ready availability of steroids through the Internet. GAO, Report #GAO-06-
    243R (Nov. 3, 2005). Available at: http://www.gao.gov/new.items/d06243r.pdf.
    120
      Testimony of Rick Collins before the United States Sentencing Commission, April 12,
    2005. Available at: http://www.ussc.gov/hearings/04_12_05/Collins.pdf
    121
       CBS News, Steroids: Not Just a Guy Thing, April 27, 2005. Available at:
    http://www.cbsnews.com/stories/2005/04/27/earlyshow/health/main691201.shtml
    122
       San Francisco Chronicle, Many Teenage Girls Abuse Steroids, Lawmakers Told, June
    16, 2005. Available at:
    http://www.sfgate.com/cgi-bin/article.cg1?f=/c/a/2005/06/16/MNGAUD9H1G1.DTL.
    123
       The American Heritage Stedman’s Medical Dictionary su·pra·phys·i·o·log·ic (spr-fz-
    ljk) or supraphysiological (-kl) adj. 1. Indicating a dose that is larger or more potent than
    would occur naturally, as of a chemical agent that mimics a hormone. 2. Of or relating to
    the physiological effects of such a dose. The American Heritage Stedman’s Medical
    Dictionary, 2nd ed., Houghton Mifflin Company, copyright 2004.
    124
          NIDA, supra note 9; see also Brower, supra note 9, and Hall, supra note 10.

                                                 23
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 25 of 32 PageID #: 154



         Additionally, various psychiatric disorders are also associated with the abuse of
 steroids.125 Pope and Katz report that “convincing data now exist to suggest AASs can produce
 prominent psychiatric effects in some individuals (347) . . . [it is important to note that] . . .
 psychiatric responses to AASs are nonuniform: a majority of users exhibit little or no psychiatric
 change, whereas a minority exhibit prominent and sometimes severe psychiatric effects
 (342).”126

                                              Figure 1

         According to NIDA’s research report on anabolic steroid abuse, the following potential
 health consequences of anabolic steroid abuse are listed:127

    Hormonal System                  Musculoskeletal                  Skin
    In Men:                          System                           _   acne and cysts
    • infertility                    _   short stature                _   oily scalp
    • breast development             _   tendon rupture
    • shrinking of the testicles
    In Women:
    • enlargement of                 Cardiovascular System Infection
    the clitoris                     _ heart attacks                  _   HIV/AIDS
    • excessive growth               _ enlargement of the             _   hepatitis
    of body hair                     heart’s left ventricle
    In Both Sexes:                   Liver                            Psychiatric Effects
    • male-pattern                   _   cancer                       _   homicidal rage
    baldness                         _   peliosis hepatis             _   mania
                                                                      _   delusions




    125
          Id.
    126
       Pope & Katz, supra note 9. Others have also reported that only an extremely small
    proportion of users experience significant psychological symptoms (including violent
    behavior) associated with steroid abuse and note that prior psychiatric history, genetics,
    environment, and expectations may influence these results in an unknown manner. M. S.
    Bahrke et al., Psychological and Behavioural Effects of Endogenous Testosterone and
    Anabolic-Androgenic Steroids, 22(6) Sports Med. 367-390 (Dec. 1996). .
    127
       National Institute on Drug Abuse, Research Report Series, Anabolic Steroid Abuse, p.
    5 (revised 2000). Available at: http://www.nida.nih.gov.

                                                 24
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 26 of 32 PageID #: 155



                  3.     Abuse/Dependence/Withdrawal

         The Commission’s 1990 Steroids Report stated that information from DEA at that time
 indicated that steroids were not addictive (a position endorsed by the American Medical
 Association). That report indicates that others had proposed a theory of steroid use that included
 the potential for addiction.128

         More recent information provided by NIDA in its 2000 update of steroid abuse indicates
 that an “undetermined” proportion of steroid users become addicted - exhibiting behaviors (e.g.,
 drug seeking, continuation of use despite consequences) identical to addiction to other drugs of
 abuse.129 The information also indicates that some abusers experience withdrawal symptoms
 “such as mood swings, fatigue, restlessness, loss of appetite, insomnia, reduced sex drive, and
 the desire to take more steroids”130

        A theoretical model for steroid addiction was recently proposed by Kirk J. Brower which
 attempts to explain the development of addiction from substances that do not generally provide
 the same intoxicating rewards to its user as other controlled substances.131 Because of the


    128
       This report included early work by Brower and others on the hypothetical addictive
    potential of anabolic androgenic steroids but appears to have agreed with the conclusion
    of DEA that steroids were not physically or psychologically addictive. This finding also
    appears to conflict with the finding of the Senate Committee of the Judiciary in 1989
    when it was considering classifying steroids as a Schedule II substance.
    129
        Addiction is “a chronic, relapsing disease, characterized by compulsive drug seeking
    and use, and by neurochemical and molecular changes in the brain.” Heroin users spend
    increasingly more time and energy getting and using the drug and the drugs change their
    brains and behavior. Methamphetamine users exhibit symptoms which include violent
    behavior, anxiety, confusion, and insomnia, and can also exhibit psychotic symptoms
    including paranoia, auditory hallucinations, mood disturbances and delusions. See
    National Institute on Drug Abuse, NIH Pub. No. 05-4165, Heroin Abuse and Addiction
    (May 2005); National Institute on Drug Abuse, NIH Pub. No. 02-4210,
    Methamphetamine Abuse and Addiction (January 2002).
    130
       NIDA, supra note 9, at 6. Symptoms of withdrawal for heroin users is described as
    occurring “within a few hours after the last time the drug is taken” and include
    “restlessness, muscle and bone pain, insomnia, diarrhea, vomiting, cold flashes with good
    bumps (“cold turkey”), and leg movements. NIDA reports that although there are not
    physical manifestations of a withdrawal syndrome upon disuse of methamphetamine,
    “there are several symptoms that occur when a chronic user stops taking the drug”
    including depression, anxiety, fatigue, paranoia, aggression, and an intense craving for
    the drug.” See NIDA’s reports on Heroin Abuse and Addiction and Methamphetamine
    Abuse and Addiction, supra note 128.
    131
          Brower, supra note 9.

                                                 25
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 27 of 32 PageID #: 156



 differences between the action of steroids compared to other drugs of abuse a two-stage model of
 addiction is theorized. This theory suggests that initially the steroid’s reward for the user is
 experienced in the muscle growth associated with its use. However, at a later time, perhaps
 because of the very large dosages associated with illicit use, a brain based reward “similar to
 other drugs of abuse” is experienced.132 It has also been reported that “[t]he reinforcing effects
 [reward experienced by the user] of steroids takes much longer to develop and therefore are
 more resistant to extinction [breaking the habit].”133

                   4.     Steroids as Gateway Drugs

         There is some evidence indicating that use of steroids may be associated with the use of
 other drugs of abuse and may serve, for some users, as a “gateway”/introductory drug to use of
 other controlled substances.

         Two older surveys of high school students found that use of steroids is associated with
 the presence of other risk behaviors generally (such as drinking and driving, engaging in
 unprotected sex, carrying a gun, fighting, etc),134 and with other illegal drug use specifically,135
 leading one researcher (Middleman) to conclude that adolescent steroid use is part of a more
 general “risk behavior syndrome.”136

         Consistent with the above findings, a recent review of the scientific literature on steroid
 use reports that “[t]he immersion [of steroid users] in the drug subculture [to obtain drugs or
 equipment, to learn how to use them, to learn how to hide and pay for their steroids] often leads
 to the abuse of other substances.”137 More recent research on drug users in treatment for drug
 abuse other than steroid abuse found that an unexpected proportion (13%) reported prior steroid
 use. The authors conclude that steroid use may be under-recognized in drug treatment
 populations, especially those with opioid dependance. They also conclude that for some of these
 users, the steroid use may serve as a “gateway” to abuse of other controlled substances.138

    132
          Id. at 381.
    133
      Scott Lukas, SE CNS Effects and Abuse Liability of Anabolic Androgenic Steroids, 36
    Annu. Rev. Toxicol. 333-57 (1996).
    134
      A. B. Middleman, et al., High-Risk Behaviors Among High School Students in
    Massachusetts Who Use Anabolic Steroids, 96 Pediatrics 268-272 (1995).
    135
      R. H. DuRant et al., Anabolic-Steroid Use, Strength Training, and Multiple Drug Use
    Among Adolescents in the United States. 96 Pediatrics 23-28 (1995).
    136
          Middleman, et al., supra note 133.
    137
          Hall, supra note 10, at 553.
    138
      G. Kanayama, et al., Past Anabolic-Androgenic Steroid Use Among Men Admitted for
    Substance Abuse Treatment: An Underrecognized Problem. 64 J. Clin. Psychiatry 2, 156-

                                                   26
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 28 of 32 PageID #: 157




         Typically the “gateway” concept refers to a drug user moving on to other types of drugs
 after introduction by the “gateway” drug. A recent report by the GAO139 on steroids suggests a
 new meaning to this term. The GAO reports that steroid distributors use steroid sales to
 determine if the buyers are law enforcement officers. If satisfied that buyers are “legitimate,”
 they then may offer “narcotics, such as cocaine,” for sale.140 This presents a novel method for
 drug distributors outside the United States to “test the waters” by distributing a drug, legal in the
 seller’s country, before offering drugs classified internationally as illegal to distribute.

                      5.   Steroids Trafficking

         The current DEA Fact Sheet on steroids indicates that the primary source of illegal
 steroids is through purchases via the Internet. The next most common source is from steroids
 being smuggled into the United States from Mexico and Europe where steroids are often
 available without a prescription.141 This is consistent with findings from the 2005 GAO Steroids
 Report.142

         In discussions with Commission staff, law enforcement officials have indicated that they
 consider a medium size trafficker as someone who distributes a complete cycle to 10 customers.
 A person is considered a high-level trafficker if they distribute one complete cycle to 30
 customers. This is similar to trafficking information provided by DOJ during the 1990
 deliberations. At that time, having fewer than 10 customers was indicative of a small level
 trafficker, a medium distributer had between 10 and 20 customers, and a large trafficker was
 identified as having more than 20 customers.



    160 (February 2003).
    139
          See GAO Report, supra note 116, at 1.
    140
          Id. at 6.
    141
      DEA Briefs & Background, Drugs and Drug Abuse, Drug Descriptions, Steroid
    Factsheet. Available at: http://www.usdoj.gov/dea/concern/steroids_factsheet.html.
    142
       The overall findings of the 2005 GAO Steroids Report are not inconsistent with
    Commission research. That report found, for example, that: (1) steroids come from
    abroad; (2) use of the Internet for steroids trafficking is widespread; (3) the sheer volume
    of international shipping presents enforcement challenges; and (4) shipment of bulk
    powder steroids is an emerging problem. This last finding is of particular interest
    because this form of the drug, as well as others, also presents a sentencing problem.
    Presently, the guidelines determine the penalty level of steroid offenses based upon the
    number of pills or the volume of liquid involved in the offense. The guidelines do not
    provide guidance to the courts on determination of penalties for other forms of steroids
    such as the bulk powders described in this report as well as other forms that steroids may
    take (e.g., topical creams, patches, etc).

                                                  27
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 29 of 32 PageID #: 158



                6.     Commission Data Analysis

         Between 2001 and 2005, a total of 46 offenders were sentenced under the drug
 trafficking guideline for steroid trafficking offenses. The number of cases received during each
 period of time is as follows: (1) 11 cases in Fiscal Year 2001; (2) 8 cases in Fiscal Year 2002;
 (3) 9 cases in Fiscal Year 2003; (4) 8 cases in Fiscal Year 2004 pre-Blakely;143 and (5) 10 cases
 in Fiscal Year 2005 post-Booker.144

         A total of 24 federal judicial districts were involved with these cases. The Eastern
 District of New York, with 6 cases, and the Western District of Texas, with 5 cases, reported the
 most cases over this period.

         Offenders were male (44 of the 45 cases for which gender was known) and mostly U.S.
 citizens (80.0%, n=36). Half (n=23) were under thirty years of age. Three offenders were over
 50 years of age and 68.9 percent had some college education or had completed college.

         Base offense levels assigned under USSG §2D1.1 ranged from level 6 to level 20 but
 over half (56.5%, n=26) of the cases had base offense levels of 6 (n=14) or 8 (n=12). Weapon
 involvement in the offense was rare, as only 3 offenders (6.5%) received an enhancement, either
 statutorily or under the guidelines, for this conduct. Penalty adjustments in Chapter Three of the
 guidelines rarely were applied, other than 3E1.1 (Acceptance of Responsibility). Acceptance of
 responsibility was credited in 41 (89.1%) of the cases. Most offenders (78.3%, n=36) were in
 Criminal History Category I, indicating minimal or no prior criminal justice involvement.

        Most offenders (72.7%, n=32) were sentenced within the guideline range, one case
 received an upward departure, three received a downward departure, and eight (18.2%) received
 a downward departure under USSG §5K1.1 for providing substantial assistance to authorities.
 Over half (56.5%, n=26) of these cases received a probation-only sentence. Fourteen of these



    143
       The pre-Blakely period refers to that portion of Fiscal Year 2004 from October 1,
    2003, until June 24, 2004, the date of the Supreme Court decision in Blakely v.
    Washington, 542 U.S. 296 (2004). Blakely invalidated the Washington State guideline
    sentencing scheme because facts enhancing the defendant’s sentence under that scheme
    were not put before the jury. The impact of Blakely on the federal scheme is difficult to
    measure, which may produce unreliable results in the data. Accordingly, this analysis
    uses only that portion of Fiscal Year 2004 data which predates the Blakely decision.
    144
       The post-Booker period refers to that portion of Fiscal Year 2005 from January 13,
    2005, the date of the U.S. Supreme Court decision in United States v. Booker, 543 U.S.
    220 (2005), through September 30, 2003, the end of the fiscal year. In United States v.
    Booker, the Supreme Court applied the ruling in Blakely to the federal guidelines. For
    the reasons stated in footnote 138, supra, this analysis uses only that portion of Fiscal
    Year 2005 data which postdates the Blakely decision.


                                                 28
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 30 of 32 PageID #: 159



 cases received a prison sentence with an average sentence of 14.5 months (median sentence is 6
 months).

 IV.    CONCLUSION

         The Commission appreciates congressional concern about the dangers associated with
 steroids offenses and the need for the penalties imposed to reflect the seriousness of these
 offenses and the need to deter anabolic steroid trafficking and abuse. In implementing the
 congressional directive to the Commission in the Anabolic Steroid Control Act of 2004 to
 consider increasing penalties for such offenses, the Commission undertook to update its previous
 research on steroids offenses and penalty structures.

         This additional research revealed that steroid offenses are characterized by the same
 patterns of use, prevalence, and harms associated with steroid use as was the case in 1990, when
 the Commission first studied steroid offenses. The research also revealed, however, that steroids
 are now considered potentially addictive, with documented withdrawal symptoms, and are
 capable of being more widely distributed than before through the use of the Internet and involve
 international sources.

         This information is important to the Commission’s consideration of the appropriate
 penalties for steroids offenses, as it implements the directive in the Anabolic Steroid Control Act
 of 2004 and also ensures, pursuant to 28 U.S.C. § 991(b), that such penalties promote the
 purposes of sentencing as set forth in 18 U.S.C. § 3553(a).




                                                 29
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 31 of 32 PageID #: 160



                                           Appendix A

                      Steroid Trafficking Penalties Roundtable Discussion
                              United States Sentencing Commission
                                       September 27, 2005

        On September 27, 2005, the Commission held a roundtable discussion including experts
 from the scientific community, a government health agency, law enforcement, and the defense
 community.

 A.     PARTICIPANTS

        In addition to Commission staff, the following individuals participated in the Roundtable
 Discussion:

 Rick Collins, Esquire,       private attorney practicing primarily in the area of nutritional
                              supplement law and sports drug defense;

 Dr. Jack Darkes,             Associate Scholar and Assistant Professor of Psychology at the
                              University of South Florida, Associate Director for the Alcohol
                              and Substance Use Research Institute, researcher with expertise in
                              addiction;

 Dr. Scott Lukas,             Professor of Psychiatry, Harvard Medical School and Director of
                              the Behavioral Psychopharmacology Research Laboratory,
                              McLean Hospital, physician and researcher recommended by the
                              National Institute on Drug Abuse;

 Harrison G. Pope Jr.,        Professor of Psychiatry, Harvard Medical School, physician and
 M.D., MDH,                    researcher with a number of publications on consequences of
                              steroid use;

 Gary Wadler, M.D.,           Professor at New York University, and an expert in sports doping;

 Representatives from the Department of Justice
       Doug Coleman, Agent
       Charlotte Mapes
       Matt Perrella, Assistant United States Attorney
       Michelle Morales (DOJ Liaison to the Commission)

 Representatives from the Food and Drug Administration.
       Gregg Goneconto, Agent
       Sarah Hawkins, Office of the General Counsel




                                                30
Case 1:12-cr-00149-JJM-PAS Document 33 Filed 04/05/13 Page 32 of 32 PageID #: 161



 B.    TOPICS OF DISCUSSION

       Specific topics discussed at the Roundtable Discussion included the following:

       1)     How prevalent is the use of anabolic androgenic steroids?

       2)     What, if any, are the harms associated with the illicit use or trafficking of
              anabolic androgenic steroids? Harms might include physical and/or
              psychological harms to the user, the family and friends of the user, or to the
              community-at-large as a result of the use and trafficking of these substances.

       3)     Is violence associated with the use or trafficking of steroids?

       4)     How are steroids trafficked?
              Are there mid-level and high-level traffickers of steroids?
              What quantities of steroids would these persons be involved with?
              Do steroid dealers also deal in other drugs sometimes referenced in association
              with bodybuilding, e.g., analgesics? (If not, where do users get them?)

       5)     How were steroids made available for illegal distribution in the past (say around
              1990)?
              Were they available primarily from diversion of pharmaceutical products or were
              they primarily illicitly imported?
              Are they accurately packaged? (Do the items contain what is advertised?)

       6)     To provide a context for analysis, how do the responses to the questions above on
              steroids compare with those aspects of the use and trafficking of other Schedule
              III controlled substances? How do they compare in terms of prevalence, harms,
              and violence?

       7)     Trafficking in steroids is punished to a substantially lesser extent than the
              trafficking of other Schedule III controlled substances. Is the distinction
              appropriate? If yes, why or if no, why not?

       8)     Currently the Federal Guidelines provide a method to calculate penalties for
              steroids trafficked in liquid form or in the form of a pill, tablet, or capsule. As
              steroids become available in other forms (e.g., transdermal patch, inhaler, topical
              cream, etc.) what method(s) of calculating penalties would best fit into the current
              methodology of calculating "units’ of the substances?

       9)     Should the Commission develop penalties for specific aspects of steroid
              trafficking offenses such as: if the formulation includes an agent to prevent
              detection in routine testing, distribution to high profile athletes, etc?

       10)    The Commission also is considering creating penalties for offenses involving the
              trafficking of human growth hormone (HGH). Should the Commission create
              penalties for HGH ? If so, should these penalties be placed in the drug guideline
              or elsewhere?

                                               31
